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           Case:         I
                  3:15-cv-00097-GHD-SAA
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FORM   I (ND/SD MISS. DEC. 2014)
                                     UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF MISSISSIPPI
                                            OXFORD DIVISION

   Donald L. McVey
                                                                                                PLAINTIFF




  v.                                                           CIVIL ACTION
                                                               No. 3:15cv097-GHD-SAA
  The Great American Home Store II, Inc.                                                        DEFENDANTS
  and Vick L. Etheridge, Individually




                                                AMENDED
                                      CASE MANAGEMENT ORDER
This Order, including all deadlines, has been established with the participation of all parties and can be
modified only by order of the Court on a showing of good cause supported with affidavits, other evidentiary
materials, or reference to portions of the record.

IT IS HEREBY ORDERED:

    1. ESTIMATED DAYS OF TRIAL:                                3

         ESTIMATED TOTAL NUMBER OF WITNESSES:                      7 to 8

         EXPERT TESTIMONY EXPECTED: No




   2. ALTERNATIVE DISPUTE RESOLUTION (ADR].

         Alternative dispute resolution techniques appear helpful and will be used in this civil action as follows:


         At the conclusion of discovery, mediation may be a successful avenue for resolution of the issues
         involved in this litigation and should be utilized by the parties.



   3. CONSENT TO TRIAL BY UNITED STATES MAGISTRATE JUDGE.
         The parties do not consent to trial by a United States Magistrate Judge.
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    4. DISCLOSURE.

         The following additional disclosure is needed and is hereby ordered:



         The parties must make full disclosures as required by the Rules no later than November 3, 2015.




    5. MOTIONS; ISSUE BIFURCATION.
         Staged resolution, or bifurcation of the issues for trial in accordance with FED. R. CIV. P. 42
         (b) will not assist in the prompt resolution of this action.




        Statement Not Applicable.




    6. DISCOVERY PROVISIONS AND LIMITATIONS.

         A.       Interrogatories are limited to -='--_ succinct questions.

         B.       Requests for Production are limited to      25     succinct questions.

         c.       Requests for Admissions are limited to      25     succinct questions.

        D.        Depositions are limited to the parties, experts, and no more than

                      5      fact witness depositions per party without additional approval of the Court.
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          E.       The parties have complied with the requirements of Local Rule 26(e)(2)(B) regarding discovery
                   of electronically stored information and have concluded as follows [The parties MUST state
                   whether or not there is ESI and, if so, how they propose to address it]:

                   Counsel confirm that: (a) they have or will inquire of their clients to determine the existence
                   and types of any potentially discoverable information which may be stored in electronic form;
                   (b) they have instructed or will immediately instruct their clients that they are obligated to
                   preserve any potentially discoverable information which may be stored in electronic form; (c)
                   they have instructed or will immediately instruct their respective clients not to delete any ESI
                   related to this matter, including but not limited to e-mails, electronic texts, social networking
                   sites, word processing documents and spreadsheet documents.




          F. The court imposes the following further discovery provisions or limitations:

         D     1. Defendant may have a Fed. R. Civ. P. 35 (L.U.Civ.R. 35) medical examination of the plaintiff
               (within subpoena range of the court) by a physician who has not examined the plaintiff The
               examination must be completed in time to comply with expert designation deadlines.

         11'1 2. Pursuant to Rule 502(d) of the Federal Rules of Evidence, the attorney-client privilege and the
               work-product protections are not waived by any disclosure connected within this litigation pending
               before this Court. Further, the disclosures are not waived in any other federal or state proceeding.

         D 3. Plaintiff must execute an appropriate, HIPAA-compliant medical authorization.
         D 4. Other:
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            Additional Provisions:




    7. SCHEDULING DEADLINES

        A. Trial. This action is set for JURY TRIAL

            beginning on: November 14,2016                     ,at 9:30          , a.m.        ,Ill   Oxford

            Mississippi, before United States ...:::;D::....:i:=.:st=.::ri:..::..ct=--___ Judge Glen Davidson

            ANY CONFLICTS WITH THIS TRIAL DATE MUST BE SUBMITTED IN WRITING TO
            THE TRIAL JUDGE IMMEDIATELY UPON RECEIPT OF THIS CASE MANAGEMENT
            ORDER.



        B. Pretrial. The pretrial conference is set on: October 1 2016                                at 10:00

            in Oxford                    , Mississippi, before United States -=M~a~gl!:.::is:.::tr=at=e_ _ __

            Judge S. Allan Alexander

        C. Discovery. All discovery must be completed by: June 30, 2016

        D. Amendments. Motions for joinder of parties or amendments to the pleadings must be

            filed by: November 20,2015

        E. Experts. The parties' experts must be designated by the following dates:

            1. Plaintiff(s):            March 29, 2016

            2. Defendant(s):            April 29, 2016
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   8. MOTIONS. All dispositive motions and Daubert-type motions challenging another party's expert

          must be filed by: _ July 14. 2016 _ _ _ _,.The deadline for motions in limine is fourteen days

          before the pretrial conference; the deadline for responses is seven days before the pretrial

          conference.


   9. SETTLEMENT CONFERENCE.

        If the parties desire judicial assistance to settle the case after initial discovery, they will contact the Court
        to request a date for a settlement conference when they have obtained the discovery necessary to make
        the conference effective.




   10. REpORT REGARDING ADR. On or before (7 days before FPTC) _O_c_to_b_er_~2_01_6_ _ _ _, the parties

         must report to the undersigned all ADR efforts they have undertaken to comply with the Local Rules or

          provide sufficient facts to support a finding ofjust cause for failure to comply. See L. U.Civ.R.83. 7(1)(3).



So ORDERED:


 October 21, 2015                         sl S.Allan Alexander
DATE                                     UNITED STATES MAGISTRATE JUDGE
